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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  INTERWORKS UNLIMITED, INC.                                         2:17−cv−04983−TJH−KS
                                                   Plaintiff(s),

           v.
  DIGITAL GADGETS, LLC
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         7/10/2019
  Document Number(s):                 65
  Title of Document(s):              Notice of Filing Bankruptcy and Automatic Stay
  ERROR(S) WITH DOCUMENT:

  Incorrect event selected. Correct event to be used is: Civil Events − select − Other Filings − select − Notices −
  select − Notice of Filing Bankruptcy (Non−Appeal)




  Other:

  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                        Clerk, U.S. District Court

  Dated: July 11, 2019                                  By: /s/ Sharon Hall−Brown 213−894−3651
                                                           Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.


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